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Case 1:05-cv-01096-.]DT-S`}'A Document 18 Filed 07/29/05 Page 1 Of 8 Pag€|D 10
UNITEI) STATES DIsTchT COURT
EAsTERN DISTRICT oF LoUrstANA

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June 14, 2005 jj_,._‘o‘ __;; '

Robert Di ’I`rolio, Clerk
United States District Court
Western District of Tenuessee
111 S. Highland

lackson, TN 38301

In Re: MDL 1657 Vioxx Products Liability litigation Your Case No. C.A. 1:05-1096 Doyle ‘
Johnson v. Merc o., nc.

Our Case No. C.A. 05-2358 L (3)

 

Dear Mr. Di 'I`rolio:

Enc]osed is a certified copy of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. It instructs that the case listed above be transferred to our district for disposition

pursuant to Title 28 USC 1407, as soon as possible Our office has assigned s new civil action number
to this case as referenced above.

DO §§!! FORWARD IHE ORIGI`NAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments the docket sheet

and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

l)ue to the i hvolume of ases involved in this liti ation lease rovide a e co ies of

the above d cuments instead f sim l refe in to our websit . Your prompt attention in this
matter is greatly appreciated '

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

 

 

Enclosures

ce: Judicial Panel on Multidistrict litigation / g

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CONDIT]ONAL TRANSFER ORDER ((CTO-l]))

On Fehruary ld, 2005, the Panei transferred 138 civil actions to the United States District Courr for the
Eastern District ofLouisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 439 additional actions have been transferred to the Eastern District of
Louisiana. With the consent ofthat court, ali such actions have been assigned to the chorahle Eidon E.
Faiit)n_ .

lt appears that the actions on this conditional transfer order involve questions effect which are common
to the actions previously transferred to the Eastern District ofLouisiana and assigned to lodge Failon.

Pursuant to Rttle 7.4 of the Rules of Procedure oi' the Jud.iciai Pancl on Muitidist_rict Litiaation, 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C`. § l407 to the Eastern District
of.Lo-uisiana for the reasons stated in the order of-Fehruaty l6, 2005, 360 F.-Supp£d l352 (-JLP,M.L.
2005), and, with the consent of that court, assigned to the Honorahie Eldcn E. Fallon.

This order does not become effective until it is filed in the Oi`tice of the Clerk ofthe United States

District Court for the fastern_`l§fis_trict ofLouisiana. The transmittal ofthis order to said Cierk shall he
stayed fifteen (l$l,days from thc entry thereof and if any party files a notice of opposition with the Clerk
ofthe Panel wi '7 ` ' ' ` , `e stay will he continued until further order of the Panei. h
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Clerk of the Panei

 

  

  
 

 

 

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Case 1:05-cv-01096-.]DT-STA Document 18 Filed 07/29/05 Page 3 of 8 Page|D 12

CLOSED, STAY

U.S. District Court
Western District of Tennessee (Jackson)
CIVIL DOCKET FOR CASE #: 1:05-cv-01096-JDT-sta
Internal Use Only

Johnson v Merck & Co., et al

Assigned to: J ames D. Todd

Referrcd to: S. Thomas Andersou

Demand: $75000

Cause: 28:1332 Diversity-Product Liability

Miscellaneous
Judy Barnhill

Plaintiff

Doyle Johnson

V.
Defendant
Merck & Co, Inc

l 0i`5

Date Filed: 03/31/2005

Jury Demand: Defendant

Nature of Suit: 365 Personal lnj. Prod.
Liability

Jurisdiction: Diversity

represented by Judy Barnhill

Circuit Court Cierk
Crirninal lustice Complex
515 S. Libelty St.
Jackson, TN 38301

Fax: prose

PRO SE

represented by Steven G. Ohrvall

HILL BOR_EN- Jackson

1269 N. Highiand Ave.

P.O. Box 3539

Jackson, TN 38303-3539
731-423-3300

FaX: 901-526-9310

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HILL BOREN

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731-423-3300

Fax: 731-423~2135

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represented by Charles C. Harrell

BUTLER SNOW O'MARA STEVENS

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L,M/r:t,'r - U.§. District tourt:tnwd - l)ocket Report

Dei`endant
Medco Health Solutions, Inc

Defendant
Sarah C. Capocaccia

Dei`endant
Stephanie B. (Buck) Ison

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Case 1:05-cv-01096-.]DT-STA Document 18 Filed 07/29/05 Page 4 018 Page|D 13

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Memphis, TN 381 19
901-680-7200

Fax: 901-680-7201

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Email: 1isa.martin@butlcrsnow.corn

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& WILLIAMS

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Lisa M. Martin

(See above for address)

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represented by Charles C. Harrell

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Case 1:05-cv-01096-.]DT-STA Document 18 Filed 07/29/05 Page 5 of 8 Page|D 14

Defendant
Courtney Shay (Ingram) McMakin

Defendant
Vinay Krishan Sood

Defendant
Michael Richards

Defendant

Patricia Blasingame

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(See above for address)
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Case 1:05-cv-01096-.]DT-STA Document 18 Filed 07/29/05 Page 6 of 8 Page|D 15

Defendant
Scott Evans

Date Filed

03/31/2005

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represented by Charles C. Harrell
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Lisa M. Martin

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ATTORNEY TO BE NOTICED

Docket Text

NOTICE OF REMOVAL by Merck & Co, Inc from Circuit Court of
Madison County, case number C-05-98. ( Filing fee $ 250. )(ejs, )
(Entercd: 04/01/2005)

NOTICE of removal to ptf by Merck & Co, Inc. (ejs, ) (Entered:
04/01/2005)

NOTICE by Merck & Co, Inc : corporate disclosure Statement. (ej s, )
(Entered: 04/01/2005)

MOTION to Stay all proceedings pending transfer decision by the
judicial panelon multidistrict litigation, by Merck & Co, Inc. (ejs, )
(Entered: 04/01/2005)

ANSWER to Compiaint With Jury Demand by Merck & Co, Inc.(ejs, )
(Entered: 04/01/2005)

ANSWER to Complaint (Notice of Removal) by Sarah C. Capocaccia,
Stephanie B. (Buck) Ison, Vinay Krishan Sood, Patricia Blasingame. (ejs,
) (Entered: 04/01/2005)

CERTIFICATE of Counsel re [4] MOTION to Stay by Lisa M. Martin on
behalf of Merck & Co, Inc. (ejs, ) (Entered: 04/08/2005)

ANSWER to Complaint With Jury Demand by Courtney Shay (Ingram)
McMakin.(ejs, ) (Entered: 04/14/2005)

ORDER granting [4] Motion to Stay pending MDL Panel's transfer
decision Signed by Judge James D. Todd. (ej s, ) (Entered: 04/25/2005)

ANSWER to Complaint With Jury Demand by Michael Richards.(ejs, )
(Entered: 04/28/2005)

ANSWER to Complaint with Jury Demand by Medco Health Solutions,
Inc.(ejs, ) (Entered: 05/02/2005)

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Case 1:05-cv-01096-.]DT-STA Document 18 Filed 07/29/05 Page 7 of 8 Page|D 16

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Unopposed MOTION To Modify Stay by Doyie Johnson. CJT W/p/o,
CJAn (cdi, ) (Entered: 05/03/2005)

Pla's MOTION to Remand With Supporting Memorandum of Law by
Doyle Johnson. CJT W/p/o, CJAn (cdi, ) (Entered: 05/03/2005)

ORDER granting [12] Motion modify stay - to allow for plato file timely
motion to remand Signed by Judge James D. Todd. (skp, ) (Entered:
05/05/2005)

LETTER: to MDL Panel for review and possible inclusion in MDL 1657
Vioxx product liability litigation (skp, ) (Entered: 06/07/2005)

NOTICE of filing - MDL Transfer Order filed on 5/20/05 as to MDL
#1657 - case to be transferred to ED of LA and assigned to Judge Fallon.
(ejs, ) (Entered: 06/14/2005)

(inf`ormation copy) CONDITIONAL TRANSFER ORDER (CTO-l 1)
MDL 1657; action transferred under 28 USC 1407 to the USDC ED of
LA; filed in MDL 5/20/2005; Stay lifted June 7, 2005 (skp, ) (Entered:
06/23/2005)

CONDITIONAL TRANSFER ORDER - case transferred to ED of LA
pursuant order filed in ED/LA on June 13, 2005, certified on July 29,
2005; assigned # CA 05-2358 L (3) - - certified copies mailed as
instructed (skp, ) (Entered: 07/29/2005)

07/29/2005 3:20 PM

DISTRICT OURT - WESTNER D"'ISRITOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CV-01096 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed

 

 

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Crirninal Justice Cornplex
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Memphis7 TN 38103--002

Honorable .l ames Todd
US DISTRICT COURT

